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                           CENTRAL DISTRICT OF CALIFORNIA
14
                                     WESTERN DIVISION
15
     FERNANDO HERNANDEZ,                       ) No. 2:21-cv-00373-ADS
16                                             )
           Plaintiff,                          ) JUDGMENT OF REMAND
17                                             )
                  v.                           )
18                                             )
                                               )
19   KILOLO KIJAKAZI, Acting                   )
                                               )
20   Commissioner of Social Security,          )
                                               )
21         Defendant.                          )
22
           The Court having approved the parties’ Stipulation to Voluntary Remand
23
24   Pursuant to Sentence 4 of 42 U.S.C. § 405(g) and to Entry of Judgment (“Stipulation

25   of Remand”) lodged concurrent with the lodging of the within Judgment of Remand.
26         IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the above-
27   captioned action is remanded to the Commissioner of Social Security for further
28   ///
     ///
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1    proceedings consistent with the Stipulation of Remand.
2
     DATED:     10/13/2021                    /s/ Autumn D. Spaeth
3                                         HON. AUTUMN D. SPAETH
4                                         UNITED STATES MAGISTRATE JUDGE
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